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 8                             UNITED STATES DISTRICT COURT
 9                           SOUTHERN DISTRICT OF CALIFORNIA
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11     Ms. L.; et al.,                                      Case No.: 18cv0428 DMS (MDD)
12                            Petitioners-Plaintiffs,
                                                            ORDER FOLLOWING STATUS
13     v.                                                   CONFERENCE
14     U.S Immigration and Customs
       Enforcement (“ICE”); et al.,
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                          Respondents-Defendants.
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18             A status conference was held on September 20, 2019. After consulting with counsel
19     and being advised of the status of the case, IT IS HEREBY ORDERED:
20     1.      On or before September 30, 2019, Defendants shall produce to Plaintiffs and the
21     Court all governing documents memorializing standardized procedures, guidelines and
22     guidance for separating parents and children at the border. This includes documents for
23     Customs and Border Protection, Immigration and Customs Enforcement and the Office of
24     Refugee Resettlement. Defendants need not produce documents that have already been
25     provided to Plaintiffs and the Court.
26     2.      The next Joint Status Report shall be filed on or before 3:00 p.m. on October 16,
27     2019.
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 1     3.    A further status conference shall be held on October 18, 2019, at 1:00 p.m. The
 2     dial-in number for any counsel who wish to listen in only and members of the news media
 3     is as follows.
 4           a.       Dial the toll free number: 877-411-9748;
 5           b.       Enter the Access Code: 6246317 (Participants will be put on hold until the
 6                    Court activates the conference call);
 7           c.       Enter the Participant Security Code 10180428 and Press # (The security code
 8                    will be confirmed);
 9           d.       Once the Security Code is confirmed, participants will be prompted to Press
10                    1 to join the conference or Press 2 to re-enter the Security Code.
11     As above, members of the general public may attend in person. All persons dialing in to
12     the conference are reminded that Civil Local Rule 83.7(c) prohibits any recording of court
13     proceedings.
14           Counsel for the Ms. L. Class shall provide notice of this order to counsel for Plaintiffs
15     in any of the related cases that wish to appear.
16      Dated: September 20, 2019
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